 

Case 1:18-cv-08612-GBD Document 87 Filed 10/20/20 Page 1 of 1

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

BLOCKCHAIN LUXEMBOURG S.A. et al.,

 

 

Plaintiffs,
-against-
PAYMIUM, SAS a/k/a BLOCKCHAIN.IO et al. ORDER
Defendants. : 18 Civ. 8612 (GBD)

GEORGE B. DANIELS, United States District Judge:
The status conference scheduled to occur on October 27, 2020 at 9:45 a.m. is hereby

adjourned to December 15, 2020 at 9:45 a.m.

Dated: New York, New York
October 20, 2020

SO ORDERED.

BORG B. DANIELS
ited States District Judge

 

 

 
